231 F.2d 224
    Helen G. SEITZ and Arthur MacGregor Seitz, III, an InfantUnder the Age of Fourteen Years, by William H.Tallyn, as Guardian ad litem,Plaintiffs-Appellants,v.John E. TOOLAN, Isabel Hayes, Huyler E. Romond and IsabelleS. Seitz, Defendants-Appellees.
    No. 11759.
    United States Court of Appeals Third Circuit.
    Argued Feb. 23, 1956.Decided March 5, 1956.
    
      Archibald Palmer, New York City, for appellant.
      Meyer E. Ruback, Newark, N.J.  (Theodore D. Parsons, Red Bank, N.J., on the brief), for appellees.
      Before McLAUGHLIN, STALEY and HASTIE, Circuit Judges.
      PER CURIAM.
    
    
      1
      Originally this suit was instituted by appellant Helen G. Seitz individually and on behalf of the infant appellant Arthur MacGregor Seitz, III.  Thereafter amended complaints were filed by her and on behalf of Arthur MacGregor Seitz, III, by his guardian ad litem, William H. Tallyn.  The Helen G. Seitz amended complaint charged the defendants with malicious prosecution, false arrest and imprisonment, abuse of process and conspiracy to commit these offenses and to defame her.  The amended complaint for the infant alleged a conspiracy by the defendants to injure and ruin him mentally, physically and socially, to destroy his affection and respect for his father, to illegally obtain his custody for defendant Isabelle S. Seitz by abusing the processes of the courts of New Jersey and to interfere with the administration of justice in those courts with the intent to defeat and deny his constitutional and legal rights.
    
    
      2
      Chief Judge Forman in an exhaustive opinion, filed March 14, 1955, sustained the defense motions for summary judgment.  At the same time motions on behalf of the defendant Toolan for summary judgment on his counterclaim against plaintiff Helen G. Seitz, and to strike her reply to the counterclaim were denied.  Plaintiffs' appeal from the judgment against them is in accordance with the certification by the district court, under Rule 54(b) of the Federal Rules of Civil Procedure, 28 U.S.C., that there is no just reason for delay.
    
    
      3
      All questions here presented by appellants were raised in the district court and were there carefully considered and correctly decided.  The opinion of the district court allowing summary judgment against the plaintiffs is clearly right.
    
    
      4
      The order of the district court filed April 4, 1955 as amended by the order filed September 7, 1955 will be affirmed.
    
    